965 F.2d 804
    140 L.R.R.M. (BNA) 2685, 75 Ed. Law Rep. 800
    Debra J. GRUNWALD, et al., Plaintiffs-Appellants,v.SAN BERNARDINO CITY UNIFIED SCHOOL DISTRICT, et al.,Defendants-Appellees.Debra J. GRUNWALD, et al., Plaintiffs-Appellees,v.SAN BERNARDINO TEACHERS ASSOCIATION, CTA/NEA, Defendant-Appellant.
    Nos. 88-6617, 88-6619.
    United States Court of Appeals,Ninth Circuit.
    June 9, 1992.
    
      Before:  D.W. NELSON, BRUNETTI and KOZINSKI, Circuit Judges.
    
    ORDER
    
      1
      Judges Nelson and Kozinski voted to grant the petition for rehearing and to reject the suggestion for rehearing en banc.   Judge Brunetti voted to deny the petition for rehearing and to reject the suggestion for rehearing en banc.   The petition for rehearing is GRANTED and the suggestion for rehearing en banc is REJECTED.
    
    
      2
      The opinion, filed October 31, 1990, 917 F.2d 1223, is hereby WITHDRAWN.   A new opinion will be filed.
    
    